                   UNITED STATES BANKRUPTCY COURT
                    EASTERN DISTRICT OF MICHIGAN

In Re:

JOSEPH DuMOUCHELLE FINE                            Case No. 19-56239
& ESTATE JEWELLERS, L.L.C.                         Chapter 7
                                                   Hon. Phillip J. Shefferly
         Debtor

__________________________/

                      ORDER ADJOURNING RULE 2004
                  EXAMINATION OF JOSEPH DuMOUCHELLE

         This matter having come before this Court on Mark H. Shapiro, Chapter 7

Trustee’s (the “Trustee”) Motion for Order Compelling Debtor’s Principals, Joseph

DuMouchelle and Melinda J. Adducci, to Turnover Property of the Estate (the

“Motion”); and the subsequently filed Stipulation for Entry of Order Adjourning

Rule 2004 Examination of Joseph DuMouchelle, and the Court being duly advised

in the premises;

         NOW THEREFORE, IT IS HEREBY ORDERED that the Rule 2004

examination of Joseph DuMouchelle, in his capacity as Debtor’s corporate

representative, currently scheduled for July 28, 2020 at 8:30 a.m., shall be adjourned

to August 26, 2020 at 9:30 a.m., at the offices of Trustee’s counsel, Schafer and

Weiner, PLLC.




{00860711.1}                                  1

  19-56239-pjs     Doc 147   Filed 07/28/20       Entered 07/28/20 10:47:52    Page 1 of 2
         IT IS FURTHER ORDERED that nothing herein shall be deemed to be a

waiver of Joseph DuMouchelle or Melinda Adducci’s Fifth Amendment rights.



Signed on July 28, 2020




{00860711.1}                                2

  19-56239-pjs   Doc 147   Filed 07/28/20       Entered 07/28/20 10:47:52   Page 2 of 2
